
















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-1769-06, 1770-06





EDWIN GLEN BIGON, Appellant



v.



THE STATE OF TEXAS





ON APELLANT'S AND STATE'S PETITION FOR DISCRETIONARY REVIEW


FROM THE THIRD COURT OF APPEALS


LAMPASAS  COUNTY





		Keller, P.J., filed a dissenting opinion.


	When the sentences are different, "the most serious punishment" (or "offense") seems obvious: the
greater term of years (or fine, as the case may be).  That was the scenario confronted by this Court in
Landers v. State, where the term of confinement was sixty-two years for one offense and nine months for
the other. (1)  But what should a court do when the sentences are identical and each  offense could be
characterized as the "most serious" depending on what factors are examined?  Such a case is now before
us.

	Felony murder is a first-degree felony while intoxication manslaughter is a second-degree felony. 
That difference makes felony murder seem worse, but at present, that difference creates no practical
consequence for the convicted person.  A felony-murder conviction may have a practical consequence on
the convicted person's early release prospects because the offense is included under provisions that
adversely affect an inmate's eligibility for parole and mandatory supervision. (2)  However, those same
consequences would attach to intoxication manslaughter if a deadly weapon finding is made. (3)  Moreover,
a conviction for intoxication manslaughter can be used for enhancement under Chapter 49 of the Penal
Code while a conviction for felony murder could not, (4) but convictions for both types of offenses can be
used for enhancement purposes under Chapter 12. (5)

	This Court has struggled with how to determine whether a particular offense is the "most serious"
for the purpose of determining which offenses to discard and which to retain.  In Ex parte Cavazos, this
Court recognized that "[d]etermining which offense is 'most serious' may be difficult and may not always
be objective." (6)  In both Landers and Cavazos, we explained that we should look first to the greatest
sentence, (7) but we seemed to have expressed some confusion about what to do if the sentences are the
same.   In Landers, we suggested that "rules of parole eligibility and good time" could serve "as a
tie-breaker," (8) while Cavazos overruled Landers to the extent it held that "other factors, such as the degree
of the felony, range of punishment, and rules governing parole eligibility and awarding of good-conduct
time, shall be used in that determination." (9)  Nevertheless, in this case, the Court uses "degree of felony" as
a "tie-breaker" even though it disavowed such use in Cavazos.

  	This issue has not been raised before.  Although I authored Landers, the practical impossibility of
determining in some cases which offense is really the most serious has convinced me that it would be
preferable to simply give the local prosecutor the option to choose which conviction to retain.  Making the
matter a function of prosecutorial discretion seems to be most consistent with our prior recognition that a
prosecutor in this type of situation is entitled to "submit both offenses to the jury for consideration" and
receive "the benefit of the most serious punishment obtained." (10)   If a subjective decision is to be made, let
the local prosecutor who exercised the decision to bring the case make it.  Indeed, doing so would be
consistent with at least one of our decisions - Ex parte Ervin, the very case relied upon to find a double-jeopardy violation here. (11)

	Although I agree with the Court's double-jeopardy finding, I disagree with its decision to choose
which convictions to retain.  Instead, I would remand this case to the trial court for the local prosecutor's
office to decide which convictions should be retained.  Accordingly, I respectfully dissent.

Filed: January 16, 2008

Publish	


	
1.   957 S.W.2d 558 (Tex. Crim. App. 1997).
2.   See Tex. Code Crim. Proc. art. 42.12, §3g(a)(1)(A); Tex. Gov't Code §§508.145(d), 
508.149(a)(2).
3.   Art. 42.12, §3g(a)(2); §§508.145(d), 508.149(a)(1).
4.   See Tex. Pen. Code §49.09.
5.   See id., §12.42.
6.   203 S.W.3d 333, 338 (Tex. Crim. App. 2006).
7.   Cavazos, 203 S.W.3d at 338 ("greatest sentenced . . . assessed"); Landers, 957 S.W.2d at
560 ("the longest sentence imposed").
8.   Landers, 957 S.W.2d at 560.
9.   Cavazos, 203 S.W.3d at 338.
10.   Landers, 957 S.W.2d at 560-61.
11.   991 S.W.2d 804, 817 (Tex. Crim. App. 1999)(agreeing with State's suggestion to vacate
manslaughter conviction and retain conviction for intoxication manslaughter).


